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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                   Plaintiff,               )                   4:10CR3054
                                            )
            v.                              )
                                            )       MEMORANDUM AND ORDER
BANS TSANH TRUONG,                          )
                                            )
                   Defendants.              )

     Defendant's unopposed motion to continue, (filing 29), is granted, and

     IT IS ORDERED:

     1)     On or before December 23, 2010, defendant’s counsel, Joel Lonowski shall
            advise the court as to whether the defendant wishes to enter a plea of guilty,
            or whether the case should be set for trial.

     2)     The ends of justice will be served by allowing the defendant additional time
            for case preparation and investigation, and the justice served by granting this
            extension of time outweighs the interests of the public and the defendant in a
            speedy trial. Accordingly, the time between today’s date and December 23,
            2010, shall be deemed excluded time in any computation of time under the
            requirements of the Speedy Trial Act, for the reason that the parties require
            additional time to adequately prepare the case, taking into consideration the
            due diligence of counsel, the novelty and complexity of the case, and the fact
            that the failure to grant additional time might result in a miscarriage of justice.
            18 U.S.C. § 3161(h)(7)(A) & (B).

     3)     The clerk shall set a case management deadline for December 23, 2010 to set
            either a plea hearing or a trial date.

     DATED this 8th day of December, 2010.

                                           BY THE COURT:

                                           s/ Cheryl R. Zwart
                                           United States Magistrate Judge
